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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                    Plaintiffs,
v.

FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
SHAWNA WHITEOWL, and
MARK DAMON,

                    Defendants.

_____________________________________________________________________

                          ORDER TO RESPOND
 _____________________________________________________________________

      Defendants Mark Damon and Shawna Whiteowl filed motions for award of costs

and attorney’s fees [58 & 59] on January 6, 2009, and January 13, 2009, respectively.

Plaintiff has not responded to the motions and it is now

      ORDERED that plaintiff shall file a response to the motions for award of costs

and attorneys’ fees on or before March 6, 2009.

      DATED: February 20, 2009

                                         BY THE COURT:

                                         s/Richard P. Matsch
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                                         Richard P. Matsch, Senior Judge
